This document entered on the docks

m ,
with Ru|e 55 and/or 32{5) FRCrP on "€' 03/ §§ f

Case 2:O2-cr-20381-SHI\/| Document 212 Filed 04/21/05 Page 1 of 2 Page|D 277

». o
"H m
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE USFDRZ{
~*.i

WESTERN DIVISION

.QH :i 30

HOBEHT R Di' K*JO
m

 

UNITED STATES OF AMERICA,
Plaintiff,

vs. CR. NO. 02-20381-04-Ma

BRANDON WILLIAMS ,

Defendant.

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., With a
report date of Thursday, April 21, 2005 at 2:00 p.m.

The period fron1 March. 25, 2005 through. May 13, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT Is so 0RDERED this 7"°“\ day of April, 2005.

J#//“W-»-

 

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

ts,heet in compliance

v... . . . . T.
W.D. OF TN, ME:`MPH|S

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 212 in
case 2:02-CR-20381 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

 

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

Memphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

